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                         UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
                                              )      Case No.
11   TERRY FABRICANT, LOUIS                   )
12   NAIMAN, and BLAKE COOLEY,                )      CLASS ACTION
     individually and on behalf of all others )
13
     similarly situated,                      )      COMPLAINT FOR VIOLATIONS
14                                            )      OF:
15
     Plaintiffs,                              )
                                              )         1.      NEGLIGENT VIOLATIONS
16          vs.                               )                 OF THE TELEPHONE
17                                            )                 CONSUMER PROTECTION
     STATE FARM MUTUAL                        )                 ACT [47 U.S.C. §227(b)]
18   AUTOMOBILE INSURANCE                     )         2.      WILLFUL VIOLATIONS
19   COMPANY, and DOES 1 through 10, )                          OF THE TELEPHONE
     inclusive, and each of them,             )                 CONSUMER PROTECTION
20
                                              )                 ACT [47 U.S.C. §227(b)]
21   Defendant.                               )
22                                            )
                                              )      DEMAND FOR JURY TRIAL
23                                            )
24                                            )
                                              )
25
                                              )
26
           Plaintiffs TERRY FABRICANT, LOUIS NAIMAN, and BLAKE COOLEY
27
     (“Plaintiffs”), individually and on behalf of all others similarly situated, allege the
28
     following upon information and belief based upon personal knowledge:


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 1                                  NATURE OF THE CASE
 2         1.     Plaintiffs bring this action individually and on behalf of all others
 3   similarly situated seeking damages and any other available legal or equitable
 4   remedies resulting from the illegal actions of STATE FARM MUTUAL
 5   AUTOMOBILE INSURANCE COMPANY (“Defendant”), in negligently,
 6   knowingly, and/or willfully contacting Plaintiffs on Plaintiffs’ cellular telephones
 7   in violation of the Telephone Consumer Protection Act, 47. U.S.C. § 227, et seq.
 8   (“TCPA”) and related regulations, thereby invading Plaintiffs’ privacy.
 9                              JURISDICTION & VENUE
10         2.     Jurisdiction is proper under 28 U.S.C. § 1331. Plaintiffs, who are
11   citizens of a State different from Defendant, also seek up to $1,500.00 in damages
12   for each call in violation of the TCPA, which, when aggregated among a proposed
13   class in the thousands, exceeds the $5,000,000.00 threshold for federal court
14   jurisdiction. Therefore, both federal question jurisdiction and the damages
15   threshold under the Class Action Fairness Act of 2005 (“CAFA”) are present, and
16   this Court has jurisdiction.
17         3.     Venue is proper in the United States District Court for the Central
18   District of California pursuant to 28 U.S.C. § 1391(b) and because Defendant does
19   business within the State of California and at least one Plaintiff resides in Los
20   Angeles County.
21                                        PARTIES
22         4.     Plaintiff, TERRY FABRICANT (“Fabricant”), is a natural person
23   residing in Los Angeles County, California, and is a “person” as defined by 47
24   U.S.C. § 153(39).
25         5.     Plaintiff, LOUIS NAIMAN (“Naiman”), is a natural person residing
26   in Las Vegas, Nevada, and is a “person” as defined by 47 U.S.C. § 153(39).
27         6.     Plaintiff, BLAKE COOLEY (“Cooley”), is a natural person who, at
28   the time of the relevant events alleged herein, resided in Las Vegas, Nevada, and


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 1   is a “person” as defined by 47 U.S.C. § 153(39).
 2         7.      Defendant,     STATE       FARM        MUTUAL         AUTOMOBILE
 3   INSURANCE COMPANY (“Defendant”) is an Illinois corporation engaged in the
 4   sale of insurance products and related services, and is a “person” as defined by 47
 5   U.S.C. § 153(39).
 6         8.      The above named Defendant, and its subsidiaries and agents, are
 7   collectively referred to as “Defendants.” The true names and capacities of the
 8   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 9   currently unknown to Plaintiffs, who therefore sue such Defendants by fictitious
10   names. Each of the Defendants designated herein as a DOE is legally responsible
11   for the unlawful acts alleged herein. Plaintiffs will seek leave of Court to amend
12   the Complaint to reflect the true names and capacities of the DOE Defendants when
13   such identities become known.
14         9.      Plaintiffs are informed and believe that at all relevant times, each and
15   every Defendant was acting as an agent and/or employee of each of the other
16   Defendants and was acting within the course and scope of said agency and/or
17   employment with the full knowledge and consent of each of the other Defendants.
18   Plaintiffs are informed and believe that each of the acts and/or omissions
19   complained of herein was made known to, and ratified by, each of the other
20   Defendants.
21                              FACTUAL ALLEGATIONS
22         10.     Beginning during or about July 2018, Defendant contacted Plaintiff
23   Fabricant on his cellular telephone number ending in -1083, in an attempt to solicit
24   him to purchase Defendant’s products or services.
25         11.     Beginning during or about May 2019, Defendant contacted Plaintiff
26   Naiman on his cellular telephone number ending in -2575, in an attempt to solicit
27   him to purchase Defendant’s products or services.
28         12.     Beginning in or around January 2019, Defendant contacted Plaintiff


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 1   Cooley on his cellular telephone number ending in -4053, in an attempt to solicit
 2   him to purchase Defendant’s products or services.
 3         13.      Defendant used an “automatic telephone dialing system” as defined
 4   by 47 U.S.C. § 227(a)(1) to place its calls to Plaintiffs seeking to solicit its products
 5   or services.
 6         14.      Defendant contacted or attempted to contact Plaintiffs from telephone
 7   numbers including but not limited to 310-554-7507 and 714-875-7252.
 8         15.      Defendant’s calls constituted calls that were not for emergency
 9   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
10         16.      During all relevant times, Defendant did not possess Plaintiffs’ “prior
11   express consent” to receive calls using an automatic telephone dialing system or an
12   artificial or prerecorded voice on their cellular telephones pursuant to 47 U.S.C. §
13   227(b)(1)(A).
14                                 CLASS ALLEGATIONS
15         17.      Plaintiffs bring this action individually and on behalf of all others
16   similarly situated, as members of the proposed class (“The Class”). The Class is
17   defined as follows:
18
                    All persons within the United States who received any
19                  telephone calls from Defendant to said person’s cellular
20                  telephone made through the use of any automatic
                    telephone dialing system or an artificial or prerecorded
21
                    voice, and such person had not previously consented to
22                  receiving such calls, or had revoked any such consent,
23
                    within four years prior to the filing of this complaint
                    through the date of class certification.
24
25         18.      Plaintiffs represent, and are members of, The Class, consisting of all
26   persons within the United States who received any telephone calls from Defendant
27   to said person’s cellular telephone made through the use of any automatic telephone
28   dialing system or an artificial or prerecorded voice and such person had not


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 1   previously consented to receiving such calls, or had revoked any such consent,
 2   within four years prior to the filing of this complaint.
 3         19.    Defendant, its employees and agents are excluded from The Class.
 4   Plaintiffs do not know the number of members in The Class, but believe the Class
 5   members number in the thousands, if not more. Thus, this matter should be
 6   certified as a Class Action to assist in the expeditious litigation of the matter.
 7         20.    The Class Members are so numerous that the individual joinder of all
 8   of its members is impractical. While the exact number and identities of The Class
 9   members are unknown to Plaintiffs at this time and can only be ascertained through
10   appropriate discovery, Plaintiffs are informed and believe and thereon allege that
11   The Class includes thousands of members. Plaintiffs allege that The Class members
12   may be ascertained by the records maintained by Defendant.
13         21.    Plaintiffs and members of The Class were harmed by the acts of
14   Defendant in at least the following ways: Defendant illegally contacted Plaintiffs
15   and the Class members via their cellular telephones thereby causing Plaintiffs and
16   Class members to incur certain charges or reduced telephone time for which
17   Plaintiffs and the Class members had previously paid, by having to retrieve or
18   administer messages left by Defendant during those illegal calls, and invading the
19   privacy of said Plaintiffs and the Class members.
20         22.    Common questions of fact and law exist as to all members of The
21   Class which predominate over any questions affecting only individual members of
22   The Class. These common legal and factual questions, which do not vary between
23   Class members, and which may be determined without reference to the individual
24   circumstances of any Class members, include, but are not limited to, the following:
25                a.     Whether, within the four years prior to the filing of this
26                       Complaint, Defendant made any call (other than a call made for
27                       emergency purposes or made with the prior express consent of
28                       the called party) to a Class member using any automatic


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 1                       telephone dialing system or any artificial or prerecorded voice
 2                       to any telephone number assigned to a cellular telephone
 3                       service;
 4                b.     Whether Plaintiffs and the Class members were damaged
 5                       thereby, and the extent of damages for such violation; and
 6                c.     Whether Defendant should be enjoined from engaging in such
 7                       conduct in the future.
 8         23.    As persons that received calls from Defendant using an automatic
 9   telephone dialing system, without Plaintiffs’ prior express consent, Plaintiffs are
10   asserting claims that are typical of The Class.
11         24.    Plaintiffs will fairly and adequately protect the interests of the
12   members of The Class. Plaintiffs have retained attorneys experienced in the
13   prosecution of class actions.
14         25.    A class action is superior to other available methods of fair and
15   efficient adjudication of this controversy, since individual litigation of the claims
16   of all Class members is impracticable. Even if every Class member could afford
17   individual litigation, the court system could not. It would be unduly burdensome
18   to the courts in which individual litigation of numerous issues would proceed.
19   Individualized litigation would also present the potential for varying, inconsistent,
20   or contradictory judgments and would magnify the delay and expense to all parties
21   and to the court system resulting from multiple trials of the same complex factual
22   issues. By contrast, the conduct of this action as a class action presents fewer
23   management difficulties, conserves the resources of the parties and of the court
24   system, and protects the rights of each Class member.
25         26.    The prosecution of separate actions by individual Class members
26   would create a risk of adjudications with respect to them that would, as a practical
27   matter, be dispositive of the interests of the other Class members not parties to such
28   adjudications or that would substantially impair or impede the ability of such non-


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 1   party Class members to protect their interests.
 2         27.    Defendant has acted or refused to act in respects generally applicable
 3   to The Class, thereby making appropriate final and injunctive relief with regard to
 4   the members of the Class as a whole.
 5                             FIRST CAUSE OF ACTION
 6          Negligent Violations of the Telephone Consumer Protection Act
 7                                   47 U.S.C. § 227(b)
 8                                On Behalf of the Class
 9         28.    Plaintiffs repeat and incorporate by reference into this cause of action
10   the allegations in paragraphs 1-27 set forth above.
11         29.    The foregoing acts and omissions of Defendant constitute numerous
12   and multiple negligent violations of the TCPA, including but not limited to each
13   and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
14   47 U.S.C. § 227(b)(1)(A).
15         30.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
16   Plaintiffs and the Class Members are entitled an award of $500.00 in statutory
17   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
18         31.    Plaintiffs and the Class members are also entitled to and seek
19   injunctive relief prohibiting such conduct in the future.
20                           SECOND CAUSE OF ACTION
21                      Knowing and/or Willful Violations of the
22                         Telephone Consumer Protection Act
23                                   47 U.S.C. § 227(b)
24                                On Behalf of the Class
25         32.    Plaintiffs repeat and incorporate by reference into this cause of action
26   the allegations in paragraphs 1-27 set forth above.
27         33.    The foregoing acts and omissions of Defendant constitute numerous
28   and multiple knowing and/or willful violations of the TCPA, including but not


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 1   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
 2   and in particular 47 U.S.C. § 227(b)(1)(A).
 3         34.    As a result of Defendant’s knowing and/or willful violations of 47
 4   U.S.C. § 227(b), Plaintiffs and the Class members are entitled an award of
 5   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
 6   § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 7         35.    Plaintiffs and the Class members are also entitled to and seek
 8   injunctive relief prohibiting such conduct in the future.
 9                                PRAYER FOR RELIEF
10    WHEREFORE, Plaintiffs request judgment against Defendant for the following:
11                             FIRST CAUSE OF ACTION
12          Negligent Violations of the Telephone Consumer Protection Act
13                                   47 U.S.C. § 227(b)
14                As a result of Defendant’s negligent violations of 47 U.S.C. §
15                227(b)(1), Plaintiffs and the Class members are entitled to and
16                request $500 in statutory damages, for each and every violation,
17                pursuant to 47 U.S.C. § 227(b)(3)(B).
18                Any and all other relief that the Court deems just and proper.
19                           SECOND CAUSE OF ACTION
20                      Knowing and/or Willful Violations of the
21                         Telephone Consumer Protection Act
22                                   47 U.S.C. § 227(b)
23                As a result of Defendant’s willful and/or knowing violations of 47
24                U.S.C. § 227(b)(1), Plaintiffs and the Class members are entitled to
25                and request treble damages, as provided by statute, up to $1,500, for
26                each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and
27                47 U.S.C. § 227(b)(3)(C).
28                Any and all other relief that the Court deems just and proper.


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 1         36.    Pursuant to the Seventh Amendment to the Constitution of the United
 2   States of America, Plaintiffs are entitled to, and demand, a trial by jury.
 3
           Respectfully Submitted this 2nd Day of September, 2020.
 4
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 6
                                       By: /s/ Todd M. Friedman
 7
                                           Todd M. Friedman
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 9
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